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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

PRIMEREVENUE, INC.,                          )
                                             )
      Plaintiff,                             )
v.                                           )
                                             )
                                                   Civil Action No.:
WESLEY DEAN, DARRYL J.                       )
                                                   1:18-cv-03107-TCB
LANDRENEAU, KALEO                            )
TECHNOLOGY, LLC, BLACK OPS                   )
SOLUTIONS & SYSTEMS, L.L.C.,                 )
ALEX HERNANDEZ, and JOHN                     )
DOES 1-4,                                    )
                                             )
      Defendants.                            )

      CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                   DISCLOSURE STATEMENT

      Plaintiff PrimeRevenue, Inc. (“PrimeRevenue”), by and through its

undersigned counsel and pursuant to Federal Rule of Civil Procedure 7.1 and Local

Rule 3.3, hereby files its Certificate of Interested Persons and Corporate Disclosure

statement, stating as follows:

(1)   The undersigned counsel of record for PrimeRevenue certify that the

following is a full and complete list of all parties in this action, including any parent

corporation and any publicly held corporation that owns 10% or more of the stock

of a party:
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      a. PrimeRevenue;

      b. Defendant Wesley Dean;

      c. Defendant Darryl J. Landreneau;

      d. Defendant Kaleo Technology, LLC;

      e. Defendant Black Ops Solutions & Systems, LLC;

      f. Defendant Alex Hernandez;

      g. Defendants John Does 1-4;

      h. BBH Capital Partners QP IV, LP;

      i. Battery Ventures X, L.P.; and

      j. Battery Ventures X Side Fund, L.P.

(2)   The undersigned further certifies that the following is a full and complete list

of all other persons, associations, firms, partnerships, or corporations having either

a financial interest in or other interest which could be substantially affected by the

outcome of this particular case: None.

(3)   The undersigned further certifies that the following is a full and complete list

of all persons serving as attorneys for the parties in this proceeding:

      a. Plaintiff:       Evan M. Rosen
                          Dania L. Haider
                          JACKSON LEWIS P.C.
                          1155 Peachtree Street, NE, Suite 1000
                          Atlanta, Georgia 30309
                                           2
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                   Brian J. Christensen
                   (Pro Hac Vice Motion to be filed shortly)
                   JACKSON LEWIS P.C.
                   7101 College Boulevard, Suite 1200
                   Overland Park, Kansas 66210

Respectfully submitted this 3rd day of July, 2018.


                                JACKSON LEWIS P.C.



                                /s/ Evan M. Rosen________________
                                Evan M. Rosen
                                Georgia Bar No. 649716
                                Dania L. Haider
                                Georgia Bar No. 477587

                                1155 Peachtree Street, N.E., Suite 1000
                                Atlanta, Georgia 30309-3600
                                Telephone: (404) 525-8200
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                                /s/ Brian J. Christensen______________
                                Brian J. Christensen
                                (Pro Hac Vice Motion to be filed shortly)
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                                  3
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                           Counsel for Plaintiff PrimeRevenue, Inc..
                                                                   4845-6081- 9308, v. 1




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